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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE DISTRICT OF ARIZONA
10
     United States of America,                             CR- 19-00898-PHX-DLR (DMF)
11
                           Plaintiffs,
12                                                        UNITED STATES’ NOTICE OF
               vs.                                       ERRATA AND CLARIFICATION
13                                                                [Doc. 796]
14   David Allen Harbour,
15                          Defendants.
16          Plaintiff, the United States of America (“United States”), hereby files a notice of
17   errata and clarification. In a recently filed response (Doc. 796) the United States incorrectly
18   cited the trial transcript for February 10, 2023, at page 7 line 12. The citation incorrectly
19   referenced the trial transcript of February 10th when it should have cited the first day of
20   Richard Turasky’s testimony that occurred on February 9, 2023, at page 227. In addition,
21   the cite to Turasky’s testimony on page 13 at line 23 should include pages 197-198.
22
23          Respectfully submitted this 4th day of October 2023.
24
25                                                      GARY M. RESTAINO
                                                        United States Attorney
26                                                      District of Arizona
27                                                       s/Kevin M. Rapp
                                                        KEVIN M. RAPP
28                                                      Assistant U.S. Attorney
      Case 2:19-cr-00898-DLR Document 798 Filed 10/04/23 Page 2 of 2



                                 CERTIFICATE OF SERVICE
 1
           I hereby certify that on October 4, 2023, I electronically transmitted the attached
 2
     document to the Clerk's Office using the CM/ECF System for filing a copy to the following
 3
     CM/ECF registrant:
 4
 5    s/Daniel Parke_
     U.S. Attorney’s Office
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